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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


    VANDYKE JOHNSON,
                                  Plaintiff,                           1:22-cv-3787 (JLR)

                      -against-                             MEDIATION REFERRAL ORDER
                                                             FOR PRO SE EMPLOYMENT
    PAUL J. SCHUCHERT, et al.                                 DISCRIMINATION CASES
                                  Defendants.


JENNIFER L. ROCHON, United States District Judge:

         IT IS HEREBY ORDERED that this pro se case is referred for mediation to the Court’s

Mediation Program. Local Civil Rule 83.9 and the Mediation Program Procedures shall govern

the mediation. Unless otherwise ordered, the mediation will have no effect upon any scheduling

order issued by this Court, and all parties are obligated to continue to litigate the case.

         IT IS FURTHER ORDERED that the Clerk of Court shall attempt to locate pro bono

counsel to represent Plaintiff at the mediation. Pro bono counsel will contact Plaintiff directly.1

The time to assign a mediator under Local Civil Rule 83.9 and the Court’s Mediation Program

Procedures will be deferred until pro bono counsel has filed a Notice of Limited Appearance of

Pro Bono Counsel. Pro bono counsel will represent Plaintiff solely for purposes of the

mediation, and that representation will terminate at the conclusion of the mediation process.




1
 Because volunteer attorneys are a scarce resource, pro se litigants are not entitled to their
choice of pro bono counsel. Cf. Cooper v. Sargenti, 877 F.2d 170, 172-73 (2d Cir. 1989). If
Plaintiff chooses not to work with the volunteer attorney or law-school clinic that reaches out to
Plaintiff, Plaintiff’s options are to obtain counsel on his or her own or proceed pro se in all
aspects of this matter including mediation.
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       IT IS FURTHER ORDERED that any objection by Plaintiff either to the mediation or

to the Court’s request for pro bono counsel to represent Plaintiff in the mediation must be filed

within 14 days of this order.

Dated: October 31, 2022
       New York, New York

                                                 SO ORDERED.



                                                 JENNIFER L. ROCHON
                                                 United States District Judge
